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                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA

UNITED STATES                                 :              21 Cr. 537 (JMC)

v.                                            :

JAMES TATE GRANT                              :

Defendant.                                    :


                  DEFENSE EMERGENCY MOTION TO PREVENT
              DEFENDANT’S TRANSPORTATION OUT OF JURISICTION

       On September 19, 2024, this Court sentenced defendant James Grant to a term of

incarceration of 36 months. The defendant has been incarcerated since January 6, 2022, or for

32.5 months. With good time credit of approximately 14 percent, the defendant is eligible for

immediate release.

       During the afternoon of Tuesday, September 24, 2024, the defendant was advised by the

guards at the D.C. Central Detention Facility, that he should “pack up” because the U.S.

Marshals were going to move him to another facility tomorrow, that is, Wednesday, September

25, 2024.

       As undersigned counsel explained at the sentencing, the defense believes it would be in

everyone’s best interest for Mr. Grant to be released from custody at the DC jail, so that

undersigned counsel can pick up and ensure that he returns to his family in North Carolina

without incident. In counsel’s experience, the Marshals will most likely transport James to the

FDC in Philadelphia (or some other location), where he has no support network - which could

potentially cause problems with my client’s safe return home, since he might not have funds or

means to contact his family if released anywhere else.
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        Accordingly, the defense respectfully asks this Court to use its authority under the All

Writs Act, 28 U.S.C. Section 1651 to order the United States Marshals to leave the defendant in

place at the D.C. jail until the completion of his sentence. The All Writs Act provides that federal

courts can issue all “writs necessary or appropriate in aid of their respective jurisdictions and

agreeable to the usages and principles of law.” The defense believes that this authorizes the

Court to grant this relief.

        Undersigned spoke with one of the prosecutors assigned to this case, who objects to the

requested relief “without additional information.” Since the defendant is scheduled to be moved

tomorrow, there does not appear to be additional time to obtain further information. If the Court

grants this motion, the status quo will be maintained.

        A proposed draft Order is attached hereto.




                                                      Respectfully submitted,

                                                      Robert Feitel

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                                 CERTIFICATE OF SERVICE

        I hereby certify that a copy of the foregoing was sent via ECF to the Assistant United
States Attorneys listed on the case docket and counsel for the co-defendants, this 24th day of
September 2024.



                                             Robert Feitel

                                             ___________________________
                                             Robert Feitel
